             Case 3:22-cv-05937-CRB   Document 58         Filed 03/08/24    Page 1 of 28




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   Attorneys for Defendant Elon Musk
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                                 UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
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   GIUSEPPE PAMPENA, on behalf of                     CASE NO. 3:22-CV-05937-CRB
 himself and all others similarly situated,
                                                      DEFENDANT ELON MUSK’S ANSWER
                      Plaintiff,                    TO FIRST AMENDED COMPLAINT

                                                    Judge:     Hon. Charles R. Breyer
                  vs.                                 Courtroom: 6, 17th Floor

      ELON R. MUSK,

                        Defendant.
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                                                    -1-                       Case No. 3:22-CV-05937-CRB
     First
                                                          ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB            Document 58      Filed 03/08/24     Page 2 of 28




 1          Defendant Elon Musk (“Defendant” or “Musk”), by and through his undersigned counsel,

 2 hereby answers the First Amended Complaint (“FAC”) filed by lead plaintiffs Steve Garrett,

 3 Nancy Price, John Garrett, and Brian Belgrave, individually and on behalf of all other persons

 4 similarly situated. Defendant denies any allegations made in the unnumbered headings contained

 5 in the FAC. Defendant further denies each and every allegation set forth in the FAC except for

 6 those allegations expressly and specifically admitted below.

 7                                I.      NATURE OF THE ACTION

 8          1.     Defendant admits that plaintiffs purport to bring a putative class action on behalf of

 9 themselves and others similarly situated individuals regarding Defendant’s public statements.

10 Defendant denies the remainder of the allegations set forth in Paragraph 1 of the FAC.

11          2.     Defendant admits the first sentence of Paragraph 2 of the FAC. Defendant denies

12 the remainder of the allegations set forth in Paragraph 2 of the FAC, denies that any statement was

13 false or misleading, and that Defendant engaged in any wrongdoing.

14          3.     Paragraph 3 of the FAC purports to characterize the content of Defendant’s Tweet,

15 which speaks for itself and to which no response is required. Defendant denies the allegations to

16 the extent plaintiffs have mischaracterized the same. Defendant denies the remainder of the

17 allegations in Paragraph 3 of the FAC.

18          4.     Defendant denies the allegations in Paragraph 4 of the FAC.

19          5.     Defendant denies the allegations in the first sentence of Paragraph 5. The second

20 sentence of Paragraph 5 of the FAC purports to characterize the content of Defendant’s Tweet,

21 which speak for itself and to which no response is required. Defendant denies the allegations to

22 the extent plaintiffs have mischaracterized the same.

23          6.     Defendant denies the allegations of second sentence of Paragraph 6. The first

24 sentence of Paragraph 6 of the FAC purports to characterize the content of Defendant’s Tweet,

25 which speaks for itself and to which no response is required. Defendant denies the allegations to

26 the extent plaintiffs have mischaracterized the same.
27          7.     Paragraph 7 of the FAC purports to characterize the content of Defendant’s Tweets,

28 which speak for themselves and to which no response is required.              Defendant denies the

                                                   2                    Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB            Document 58     Filed 03/08/24     Page 3 of 28




 1 allegations to the extent plaintiffs have mischaracterized the same.          Defendant denies the

 2 remainder of the allegations in Paragraph 7 of the FAC.

 3          8.     The Court has determined that falsity has not been adequately pled with respect to

 4 the termination letter referred to in Paragraph 8 of the FAC, thus the allegations in Paragraph 8 of

 5 the FAC require no response.         To the extent a response is required, Defendant denies the

 6 allegations in Paragraph 8.

 7          9.     Defendant denies the allegations in Paragraph 9 of the FAC.

 8          10.    Defendant denies the allegations in Paragraph 10 of the FAC.

 9                               II.     JURISDICTION AND VENUE

10          11.    Paragraph 11 of the FAC contains legal conclusions and arguments to which no

11 response is required.

12          12.    Paragraph 12 of the FAC contains legal conclusions and arguments to which no

13 response is required.

14          13.    Paragraph 13 of the FAC contains legal conclusions and arguments to which no

15 response is required.

16          14.    Paragraph 14 of the FAC contains legal conclusions and arguments to which no

17 response is required.

18                               III.     DIVISIONAL ASSIGNMENT

19          15.    Paragraph 15 of the FAC contains legal conclusions and arguments to which no

20 response is required.

21                                          IV.      PARTIES

22          16.    Defendant lacks sufficient knowledge or information to form a belief as to the truth

23 or falsity of the allegations of Paragraph 16 of the FAC and therefore denies them.

24          17.    Defendant admits the allegations of Paragraph 17 of the FAC.

25          18.    Defendant admits subpart (a) of Paragraph 18 of the FAC. Defendant denies the

26 remainder of the allegations set forth in Paragraph 18 of the FAC and its subparts.
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                                                   3                    Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 4 of 28




 1                 V.      INTRODUCTION AND SUMMARY OF THE ACTION

 2         19.     Paragraph 19 of the FAC contains legal conclusions and arguments to which no

 3 response is required.

 4         20.     Defendant admits the first sentence of Paragraph 20. Defendant lacks sufficient

 5 knowledge or information to form a belief as to the truth or falsity of the remaining allegations of

 6 Paragraph 20 of the FAC.

 7         21.     Defendant admits the allegations of the first sentence of Paragraph 21 of the FAC.

 8 The fourth sentence of Paragraph 21 of the FAC purports to characterize the content of a public

 9 press release which speaks for itself and to which no response is required. Defendant denies the

10 remainder of the allegations of Paragraph 21 of the FAC.

11         22.     Defendant admits the fourth sentence of Paragraph 22 of the FAC. Defendant

12 denies the remainder of the allegations of Paragraph 22 of the FAC.

13         23.     Defendant admits the first sentence of Paragraph 23 of the FAC. The second

14 sentence of Paragraph 23 of the FAC purports to characterize the content of public filings in

15 litigation which speak for themselves and to which no response is required.

16         24.     Paragraph 24 of the FAC cites to public Twitter share prices, which speak for

17 themselves and to which no response is required. Defendant denies the allegations to the extent

18 plaintiffs have mischaracterized the same. Defendant denies the remainder of the allegations in

19 Paragraph 24.

20         25.     Paragraph 25 of the FAC cites to public prices of Tesla share prices, which speak

21 for themselves and to which no response is required. Defendant denies the allegations to the

22 extent plaintiffs have mischaracterized the same.        Defendant denies the remainder of the

23 allegations in Paragraph 25.

24         26.     Defendant denies the allegations of Paragraph 26 of the FAC.

25         27.     Defendant denies the allegations of Paragraph 27 of the FAC

26         28.     Paragraph 28 of the FAC purports to characterize the content of Defendant’s
27 Tweet, which speaks for itself and to which no response is required. Defendant denies the

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                                                   4                    Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB         Document 58        Filed 03/08/24     Page 5 of 28




 1 allegations to the extent plaintiffs have mischaracterized the same. To the extent a response is

 2 required, Defendant denies the allegations in Paragraph 28 of the FAC.

 3         29.     Defendant denies the allegations of Paragraph 29 of the FAC.

 4         30.     Paragraph 30 of the FAC cites to the public price of Twitter shares, which speak for

 5 themselves and to which no response is required. Defendant denies the allegations to the extent

 6 plaintiffs have mischaracterized the same. Defendant denies the remainder of the allegations in

 7 Paragraph 30.

 8         31.     Paragraph 31 of the FAC purports to characterize the content of Defendant’s

 9 Tweets, which speak for themselves, and to which no response is required. Defendant denies the

10 allegations to the extent plaintiffs have mischaracterized the same. To the extent a response is

11 required, Defendant denies the allegations in Paragraph 31 of the FAC.

12         32.     Paragraph 32 of the FAC purports to characterize the contents of a Wall Street

13 Journal article, the contents of which speak for itself, and to which no response is required.

14 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

15 Defendant denies the remaining allegations in Paragraph 32.

16         33.     Paragraph 33 of the FAC purports to characterize the contents of a New York

17 Times article, the contents of which speak for itself, and to which no response is required.

18 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

19 Defendant denies the remaining allegations in Paragraph 33.

20         34.     Paragraph 34 of the FAC purports to characterize the contents of a New York

21 Times article, the contents of which speak for itself, and to which no response is required.

22 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

23 Defendant denies the remaining allegations in Paragraph 34.

24         35.     Paragraph 35 of the FAC purports to characterize the contents of a New York

25 Times article, the contents of which speak for itself, and to which no response is required.

26 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.
27 Defendant denies the remaining allegations in Paragraph 35.

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                                                   5                    Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 6 of 28




 1          36.    Defendant lacks sufficient knowledge or information to form a belief as to the truth

 2 or falsity of what short sellers knew or believed and therefore denies allegations pertaining to

 3 them. Defendant denies the remaining allegations in Paragraph 36.

 4          37.    The Court has determined that falsity has not been adequately pled with respect to

 5 the termination letter referred to in Paragraph 37 of the FAC, thus the allegations in Paragraph 37

 6 of the FAC require no response.

 7          38.    Defendant admits Twitter sued Defendant in Delaware Chancery Court. Defendant

 8 denies the remainder of the allegations in Paragraph 38.

 9          39.    Defendant denies the allegations of Paragraph 39 of the FAC.

10          40.    Paragraph 40 of the FAC purports to characterize the procedural history of the

11 Delaware Chancery Court action which is public and speaks for itself and to which no response is

12 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

13 Defendant denies the remainder of the allegations in Paragraph 40.

14          41.    Paragraph 41 of the FAC purports to characterize the procedural history of the

15 Delaware Chancery Court action and cites to the public prices of Twitter shares, both of which are

16 public and speak for themselves and to which no response is required. Defendant denies the

17 allegations to the extent plaintiffs have mischaracterized the same.         Defendant denies the

18 remainder of the allegations in Paragraph 41.

19        VI.     EVENTS LEADING UP TO THE BEGINNING OF THE CLASS PERIOD

20          42.    Defendant admits he is an active Twitter user, but lacks sufficient knowledge or

21 information to form a belief as to the truth or falsity of the remainder of the allegations in

22 Paragraph 42 and therefore denies them.

23          43.    Paragraph 43 of the FAC purports to characterize the procedural history of SEC

24 actions and a Wall Street Journal article which speak for themselves and to which no response is

25 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

26 Defendant denies the remainder of the allegations in Paragraph 43.
27          44.    The second sentence of Paragraph 44 of the FAC purports to characterize the

28 content of a YouTube video which speaks for itself and to which no response is required.

                                                   6                    Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58        Filed 03/08/24       Page 7 of 28




 1 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 2 Defendant denies the allegations of the first sentence of Paragraph 44.

 3          45.    Defendant denies the allegations in the first sentence of Paragraph 45, other than

 4 that he spoke to Jack Dorsey on March 26, 2022. Defendant lacks sufficient knowledge or

 5 information to form a belief as to the truth or falsity of the second and third sentences of Paragraph

 6 45 of the FAC and therefore denies them.

 7          46.    Defendant denies the allegations in the first and second sentence of Paragraph 46,

 8 other than that he spoke to Egon Durban on or around March 26, 2022. Defendant lacks sufficient

 9 knowledge or information to form a belief as to the truth or falsity of the allegations of the third

10 and fourth sentences and therefore denies them.

11          A.     Musk Fails to Timely Disclose His 9+% Stake in Twitter

12          47.    Paragraph 47 of the FAC purports to characterize SEC filings which speak for

13 themselves and to which no response is required. Defendant denies the allegations to the extent

14 plaintiffs have mischaracterized the same. Defendant denies the remainder of the allegations in

15 Paragraph 47.

16          48.    Paragraph 48 of the FAC cites to the public prices of Twitter shares, which speak

17 for themselves and to which no response is required. Defendant denies the allegations to the

18 extent plaintiffs have mischaracterized the same.         Defendant denies the remainder of the

19 allegations in Paragraph 48.

20          49.    Paragraph 49 of the FAC purports to characterize public SEC forms and filings,

21 which speak for themselves and to which no response is required.              Defendant denies the

22 allegations to the extent plaintiffs have mischaracterized the same.          Defendant denies the

23 remainder of the allegations in Paragraph 49.

24          50.    Paragraph 50 of the FAC purports to characterize public SEC forms and filings,

25 which speak for themselves and to which no response is required.              Defendant denies the

26 allegations to the extent plaintiffs have mischaracterized the same.          Defendant denies the
27 remainder of the allegations in Paragraph 50.

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                                                    7                    Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 8 of 28




 1          51.    Paragraph 51 of the FAC purports to characterize public SEC forms and filings,

 2 which speak for themselves and to which no response is required.             Defendant denies the

 3 allegations to the extent plaintiffs have mischaracterized the same.         Defendant denies the

 4 remainder of the allegations in Paragraph 51.

 5          52.    Paragraph 52 of the FAC purports to characterize the contents of a Wall Street

 6 Journal article, the contents of which speaks for itself and to which no response is required.

 7 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 8 Defendant denies the remaining allegations in Paragraph 52.

 9          53.    The first sentence of Paragraph 53 of the FAC contains legal conclusions and

10 arguments to which no response is required. The second sentence of Paragraph 53 purports to

11 characterize public SEC forms and filings, which speak for themselves and to which no response

12 is required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the

13 same. Defendant denies the remainder of the allegations in Paragraph 53.

14          54.    Paragraph 54 of the FAC purports to characterize public SEC forms and filings,

15 which speak for themselves and to which no response is required.             Defendant denies the

16 allegations to the extent plaintiffs have mischaracterized the same.         Defendant denies the

17 remainder of the allegations in Paragraph 54.

18          B.     Musk Fails to Disclose He Had Been Invited to Join the Twitter Board

19          55.    Defendant denies the allegations in Paragraph 55 of the FAC, other than that he had

20 a conversation with Parag Agrawal and Bret Taylor about different options relative to Twitter.

21          56.    The allegations in Paragraph 56 of the FAC are copied from Twitter’s July 26,

22 2022 Proxy Statement which speaks for itself and to which no response is required.

23          57.    The allegations in Paragraph 57 of the FAC are copied from Twitter’s July 26,

24 2022 Proxy Statement which speaks for itself and to which no response is required. Defendant

25 denies the remainder of the allegations in Paragraph 57.

26          58.    Defendant lacks sufficient knowledge or information to form a belief as to the truth
27 or falsity of the allegations of Paragraph 58 of the FAC and therefore denies them.

28

                                                   8                    Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 9 of 28




 1          59.    Defendant denies the allegations of Paragraph 59 other than that he completed a

 2 questionnaire and it was returned to Twitter.

 3          60.    Defendant lacks sufficient knowledge or information to form a belief as to the truth

 4 or falsity of the allegations of Paragraph 60 of the FAC and therefore denies them.

 5          61.    Defendant lacks sufficient knowledge or information to form a belief as to the truth

 6 or falsity of the allegations of Paragraph 61 of the FAC and therefore denies them.

 7          62.    Defendant lacks sufficient knowledge or information to form a belief as to the truth

 8 or falsity of the allegations of Paragraph 62 of the FAC and therefore denies them.

 9          63.    Defendant denies the allegations in Paragraph 63 of the FAC, other than that

10 Defendant admits that the board offered Defendant a position, that Defendant initially accepted

11 and signed an agreement, and that the agreement was announced on April 5.

12          64.    Paragraph 64 of the FAC purports to characterize public SEC forms and filings,

13 which speak for themselves and to which no response is required.             Defendant denies the

14 allegations to the extent plaintiffs have mischaracterized the same.         Defendant denies the

15 remainder of the allegations in Paragraph 64.

16          65.    Defendant denies the allegations in Paragraph 65.

17          66.    Defendant admits that on April 4, 2022, Defendant disclosed a 9.2 percent stake in

18 Twitter. Paragraph 66 of the FAC otherwise cites to the public prices of Twitter share prices and

19 SEC filings, which speak for themselves and to which no response is required. Defendant denies

20 the allegations to the extent plaintiffs have mischaracterized the same. Defendant denies the

21 remainder of the allegations in Paragraph 66.

22          67.    Paragraph 67 of the FAC purports to characterize the contents of a Washington

23 Post article, the contents of which speak for itself and to which no response is required. Defendant

24 denies the allegations to the extent plaintiffs have mischaracterized the same. Defendant denies

25 the remaining allegations in Paragraph 67.

26          68.    Defendant denies the allegations in Paragraph 68.
27          69.    Paragraph 69 of the FAC purports to characterize the contents of a cooperation

28 agreement, the contents of which speak for itself and to which no response is required. Defendant

                                                    9                    Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 10 of 28




 1 denies the allegations to the extent plaintiffs have mischaracterized the same. Defendant denies

 2 the remaining allegations in Paragraph 69.

 3          70.     Paragraph 70 of the FAC purports to characterize the contents of a cooperation

 4 agreement and letter agreement, the contents of which speak for itself and to which no response is

 5 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 6          71.     Paragraph 71 of the FAC purports to characterize the content of joint Tweets,

 7 which speak for themselves and to which no response is required.              Defendant denies the

 8 allegations to the extent plaintiffs have mischaracterized the same. Defendant respectfully refers

 9 the Court to the Tweets for a complete and accurate description of their contents.

10          72.     The allegations in the first and second sentences of Paragraph 72 of the FAC are

11 copied from Twitter’s July 26, 2022 Proxy Statement which speaks for itself and to which no

12 response is required. Defendant lacks sufficient knowledge or information to form a belief as to

13 the truth or falsity of the allegations in the third and fourth sentences of Paragraph 72 of the FAC

14 and the location of Dorsey referred to in the second sentence of Paragraph 72 and therefore denies

15 them.

16          73.     Defendant lacks sufficient knowledge or information to form a belief as to the truth

17 or falsity of the allegations of Paragraph 73 of the FAC and therefore denies them.

18          74.     Defendant denies the allegations in Paragraph 74 of the FAC, other than that

19 Defendant admits that he determined not to join the board on April 9, and that he informed Twitter

20 that he would offer to buy the company.

21          75.     Defendant lacks sufficient knowledge or information to form a belief as to the truth

22 or falsity of the allegations of Paragraph 75 of the FAC and therefore denies them.

23          C.      After Unexpectedly Announcing He Would Not Join Its Board, Musk Discloses
                    an Intent to Buy Twitter and Threatens to Go Hostile Through a Tender Offer
24                  if Twitter’s Board Does Not Acquiesce
25
            76.     Defendant denies the allegations in Paragraph 76 of the FAC, other than that he
26
     admits he communicated with Taylor on April 13 and that he sent a letter to Twitter that day,
27
     which speak for itself and to which no response is required.
28

                                                    10                   Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58        Filed 03/08/24      Page 11 of 28




 1          77.     Paragraph 77 of the FAC purports to characterize the content of Defendant’s

 2 written proposal which speak for itself and to which no response is required. Defendant denies the

 3 allegations to the extent plaintiffs have mischaracterized the same. To the extent a response is

 4 required, Defendant denies the allegations in Paragraph 77 of the FAC.

 5          78.     Paragraph 78 of the FAC purports to characterize the content of Defendant’s

 6 Tweet, which speak for itself and to which no response is required.             Defendant denies the

 7 allegations to the extent plaintiffs have mischaracterized the same. Defendant respectfully refers

 8 the Court to the Tweet for a complete and accurate description of its contents.

 9          79.     Paragraph 79 purports to characterize the terms of the rights plan, which speaks for

10 itself. Defendant lacks knowledge or information sufficient to form a belief as to the remaining

11 allegations in Paragraph 79, except to admit that the rights plan was announced on April 15, 2022.

12          80.     Paragraph 80 of the FAC purports to characterize the content of Defendant’s

13 Tweets and a various news articles, which speak for themselves and to which no response is

14 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

15 Defendant denies the remaining allegations in Paragraph 80.

16          81.     Paragraph 81 of the FAC purports to characterize the terms of SEC forms and

17 filings, which speaks for themselves and to which no response is required. Defendant denies the

18 allegations to the extent plaintiffs have mischaracterized the same.

19          82.     Paragraph 82 of the FAC purports to characterize the terms of SEC forms and

20 filings, which speaks for themselves and to which no response is required. Defendant denies the

21 allegations to the extent plaintiffs have mischaracterized the same.

22          83.     Defendant lacks sufficient knowledge or information to form a belief as to the truth

23 or falsity of the allegations of the second and third sentences of Paragraph 83 of the FAC and

24 therefore denies them. Defendant otherwise denies the allegations in Paragraph 83 of the FAC,

25 other than that he admits that on April 23, 2022, he asked to speak with Twitter representatives

26 about his offer, that he spoke to Taylor, and that he stated his offer was “best and final.”
27          84.     Paragraph 84 of the FAC purports to characterize the terms of Twitters’ acceptance

28 of Defendant’s offer and Defendant’s April 24, 2022 letter, which speaks for themselves and to

                                                     11                   Case No. 3:22-CV-05937-CRB
                                                 ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58        Filed 03/08/24      Page 12 of 28




 1 which no response is required. Defendant denies the allegations to the extent plaintiffs have

 2 mischaracterized the same.

 3          85.     Paragraph 85 of the FAC purports to characterize the terms of the parties’ Merger

 4 Agreement, SEC forms and filings and press release, which speaks for themselves and to which no

 5 response is required.         Defendant denies the allegations to the extent plaintiffs have

 6 mischaracterized the same. Defendant lacks sufficient knowledge or information to form a belief

 7 as to the truth or falsity of the allegations of the third sentence of Paragraph 85 of the FAC and

 8 therefore denies them.

 9          86.     Paragraph 86 of the FAC purports to characterize the contents of Dorsey’s Tweet,

10 which speaks for itself and to which no response is required. Defendant denies the allegations to

11 the extent plaintiffs have mischaracterized the same.

12          87.     Paragraph 87 of the FAC purports to characterize the contents of the ElonJet twitter

13 account and SEC filings, which speak for themselves and to which no response is required.

14 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

15 Defendant denies the remainder of the allegations in Paragraph 87.

16          88.     Paragraph 88 of the FAC purports to characterize the contents of a confidentiality

17 agreement, which speaks for itself and to which no response is required. Defendant denies the

18 allegations to the extent plaintiffs have mischaracterized the same.            Defendant denies the

19 remainder of the allegations in Paragraph 88.

20          89.     Paragraph 89 of the FAC purports to characterize the contents of SEC filings,

21 which speak for themselves and to which no response is required.                Defendant denies the

22 allegations to the extent plaintiffs have mischaracterized the same.

23          D.      Musk Finances the Proposed Buyout in Part by Pledging Billions of Dollars of
                    His Tesla Stock as Collateral for a Loan From Morgan Stanley
24
            90.     Paragraph 90 of the FAC purports to characterize the contents of Defendant’s
25
     finance disclosures, which speak for themselves and to which no response is required. Defendant
26
     denies the allegations to the extent plaintiffs have mischaracterized the same.
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                                                     12                   Case No. 3:22-CV-05937-CRB
                                                 ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 13 of 28




 1          91.    Paragraph 91 of the FAC purports to characterize the contents of Defendant’s

 2 financial disclosures, which speak for themselves and to which no response is required. Defendant

 3 denies the allegations to the extent plaintiffs have mischaracterized the same.

 4          92.    Paragraph 92 of the FAC purports to characterize the contents of SEC filings and

 5 public Tesla share prices, which speak for themselves and to which no response is required.

 6 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 7          93.    Paragraph 93 of the FAC purports to characterize the contents of SEC filings and

 8 public Tesla share prices, which speak for themselves and to which no response is required.

 9 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

10          94.    Paragraph 94 of the FAC purports to characterize the contents of SEC filings,

11 which speak for themselves and to which no response is required.              Defendant denies the

12 allegations to the extent plaintiffs have mischaracterized the same.

13          95.    Paragraph 95 of the FAC purports to characterize the contents of SEC filings,

14 which speak for themselves and to which no response is required.              Defendant denies the

15 allegations to the extent plaintiffs have mischaracterized the same.

16          96.    Defendant denies the allegations in Paragraph 96.

17          97.    Paragraph 97 of the FAC purports to characterize the contents of SEC filing and

18 public Tesla share prices, which speak for themselves and to which no response is required.

19 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

20          98.    Paragraph 98 of the FAC purports to characterize the contents of Tesla’s stock

21 pledging policy, which speaks for itself and to which no response is required. Defendant denies

22 the allegations to the extent plaintiffs have mischaracterized the same.

23          99.    Paragraph 99 of the FAC purports to characterize Defendant’s agreement with

24 Morgan Stanley and other banks, which speak for themselves and to which no response is

25 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

26 Defendant denies the remainder of the allegations in Paragraph 99.
27

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                                                    13                   Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB         Document 58         Filed 03/08/24   Page 14 of 28




 1         100.    Paragraph 100 of the FAC purports to characterize Tesla’s annual report, which

 2 speaks for itself and to which no response is required. Defendant denies the allegations to the

 3 extent plaintiffs have mischaracterized the same.

 4         101.    Paragraph 101 of the FAC purports to characterize the contents of an SEC filing,

 5 which speaks for itself and to which no response is required. Defendant denies the allegations to

 6 the extent plaintiffs have mischaracterized the same.

 7         102.    Paragraph 102 of the FAC purports to characterize the contents of an SEC filing,

 8 which speaks for itself and to which no response is required. Defendant denies the allegations to

 9 the extent plaintiffs have mischaracterized the same.

10         103.    Paragraph 103 of the FAC purports to characterize public Tesla share prices, which

11 speak for themselves and to which no response is required. Defendant denies the allegations to the

12 extent plaintiffs have mischaracterized the same.         Defendant denies the remainder of the

13 allegations in Paragraph 103.

14         104.    Paragraph 104 of the FAC purports to characterize public Tesla share prices, and an

15 Observer article which speak for themselves and to which no response is required. Defendant

16 denies the allegations to the extent plaintiffs have mischaracterized the same. Defendant denies

17 the remainder of the allegations in Paragraph 104.

18         105.    Defendant denies the allegations in Paragraph 105.

19         106.    Paragraph 106 of the FAC purports to characterize the contents of SEC filings, loan

20 commitment letter, Bloomberg article and Tesla public share prices which speak for themselves

21 and to which no response is required. Defendant denies the allegations to the extent plaintiffs

22 have mischaracterized the same. Defendant denies the remainder of the allegations in Paragraph

23 106.

24                 VII.   FALSE STATEMENTS DURING THE CLASS PERIOD

25         107.    Defendant denies the allegations in Paragraph 107.

26         108.    Defendant denies the allegations in Paragraph 108.
27         109.    Defendant denies the allegations in Paragraph 109.

28         110.    Defendant denies the allegations in Paragraph 110.

                                                   14                   Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB         Document 58        Filed 03/08/24     Page 15 of 28




 1          A.     Musk’s May 13, 2022, Tweet

 2          111.   Paragraph 111 of the FAC purports to characterize the contents of Defendant’s

 3 Tweet, which speaks for itself and to which no response is required. Defendant denies the

 4 allegations to the extent plaintiffs have mischaracterized the same.

 5          112.   Defendant denies the allegations in Paragraph 112.

 6          113.   Paragraph 113 of the FAC purports to characterize the content of Defendant’s

 7 Tweet and public Twitter share prices which speak for themselves, and to which no response is

 8 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 9          114.   Paragraph 114 of the FAC purports to characterize the content of Defendant’s

10 Tweet, which speaks for itself and to which no response is required. Defendant denies the

11 allegations to the extent plaintiffs have mischaracterized the same.

12          B.     Musk’s May 14, 2022, Tweet

13          115.   The Court has determined that falsity has not been adequately pled with respect to

14 Defendant’s May 14, 2022 Tweet, thus the allegations in Paragraph 115 require no response.

15          116.   The Court has determined that falsity has not been adequately pled with respect to

16 Defendant’s May 14, 2022 Tweet, thus the allegations in Paragraph 116 require no response.

17          117.   The Court has determined that falsity has not been adequately pled with respect to

18 Defendant’s May 14, 2022 Tweet, thus the allegations in Paragraph 117 require no response.

19          118.   The Court has determined that falsity has not been adequately pled with respect to

20 Defendant’s May 14, 2022, thus the allegations in Paragraph 118 require no response.

21          119.   The Court has determined that falsity has not been adequately pled with respect to

22 Defendant’s May 14, 2022, thus the allegations in Paragraph 119 require no response.

23          C.     Musk’s May 16, 2022, Statement

24          120.   Defendant denies the allegations in Paragraph 120.

25          121.   Paragraph 121 of the FAC purports to characterize the content of Parag Agrawal’s

26 Tweet, which speaks for itself and to which no response is required. Defendant denies the
27 allegations to the extent plaintiffs have mischaracterized the same.

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                                                   15                   Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB         Document 58        Filed 03/08/24     Page 16 of 28




 1          122.   Paragraph 122 of the FAC purports to characterize the content of Defendant’s

 2 Tweet, which speaks for itself and to which no response is required. Defendant denies the

 3 allegations to the extent plaintiffs have mischaracterized the same.

 4          123.   Paragraph 123 of the FAC purports to characterize the content of Defendant’s

 5 Tweet, which speaks for itself and to which no response is required. Defendant denies the

 6 allegations to the extent plaintiffs have mischaracterized the same.

 7          124.   Paragraph 124 of the FAC purports to characterize public Twitter share prices,

 8 which speak for themselves, and to which no response is required.           Defendant denies the

 9 allegations to the extent plaintiffs have mischaracterized the same.        Defendant denies the

10 remainder of the allegations in Paragraph 124.

11          D.     Musk’s May 17, 2022, Tweet

12          125.   Paragraph 125 of the FAC purports to characterize the content of Defendant’s

13 Tweet, which speaks for itself and to which no response is required. Defendant denies the

14 allegations to the extent plaintiffs have mischaracterized the same.        Defendant denies the

15 remainder of the allegations in Paragraph 125.

16          126.   Paragraph 126 of the FAC purports to characterize the content of a Tweet and SEC

17 filing, which speaks for themselves and to which no response is required. Defendant denies the

18 allegations to the extent plaintiffs have mischaracterized the same.        Defendant denies the

19 remainder of the allegations in Paragraph 126.

20          127.   Paragraph 127 of the FAC purports to characterize the contents of a Huffington

21 Post article which speaks for itself and to which no response is required. Defendant denies the

22 allegations to the extent plaintiffs have mischaracterized the same.        Defendant denies the

23 remainder of the allegations in Paragraph 127.

24          E.     Musk’s May 21, 2022, Tweets

25          128.   The Court has determined that falsity has not been adequately pled with respect to

26 the Tweet referred to in Paragraph 128, thus the allegations in Paragraph 128 require no response.
27          129.   The Court has determined that falsity has not been adequately pled with respect to

28 the Tweet referred to in Paragraph 128, thus the allegations in Paragraph 129 require no response.

                                                   16                   Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB           Document 58       Filed 03/08/24      Page 17 of 28




 1          130.    The Court has determined that falsity has not been adequately pled with respect to

 2 the Tweet referred to in Paragraph 130, thus the allegations in Paragraph 130 require no response.

 3          131.    The Court has determined that falsity has not been adequately pled with respect to

 4 the Tweet referred to in Paragraph 130, thus the allegations in Paragraph 131 require no response.

 5          132.    The Court has determined that falsity has not been adequately pled with respect to

 6 the Tweets referred to in Paragraphs 128 and 130, thus the allegations in Paragraph 132 require no

 7 response.

 8          133.    The Court has determined that falsity has not been adequately pled with respect to

 9 the Tweets referred to in Paragraphs 128 and 130, thus the allegations in Paragraph 133 require no

10 response.

11          134.    The Court has determined that falsity has not been adequately pled with respect to

12 the Tweets referred to in Paragraphs 128 and 130, thus the allegations in Paragraph 134 require no

13 response.

14          F.      Musk’s False Statements Foreshadowing and Later Purporting to Terminate
                    the Merger
15
            135.    Paragraph 135 of the FAC purports to characterize the contents of a May 25, 2022
16
     letter to Twitter which speaks for itself and to which no response is required. Defendant denies
17
     the allegations to the extent plaintiffs have mischaracterized the same.
18
            136.    Paragraph 136 of the FAC purports to characterize the contents of a May 31, 2022
19
     letter to Twitter which speaks for itself and to which no response is required. Defendant denies
20
     the allegations to the extent plaintiffs have mischaracterized the same.
21
            137.    Paragraph 137 of the FAC purports to characterize the contents of a June 1, 2022
22
     letter from Twitter which speaks for itself and to which no response is required
23
            138.    Defendant denies the allegations in Paragraph 138.
24
            139.    Paragraph 139 of the FAC purports to characterize the contents of a June 20, 2022
25
     letter from Twitter which speaks for itself and to which no response is required. Defendant denies
26
     the allegations to the extent plaintiffs have mischaracterized the same.
27

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                                                     17                   Case No. 3:22-CV-05937-CRB
                                                 ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 18 of 28




 1          140.   The Court has determined that falsity has not been adequately pled with respect to

 2 the termination letter referred to in Paragraph 140, thus the allegations in Paragraph 140 require no

 3 response. Paragraph 140 of the FAC otherwise purports to characterize the contents of a July 8,

 4 2022 letter from Skadden Arps which speaks for itself and to which no response is required.

 5 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 6 Defendant denies the remainder of the allegations in Paragraph 140.

 7          141.   The Court has determined that falsity has not been adequately pled with respect to

 8 the termination letter referred to in Paragraph 140, thus the allegations in Paragraph 141 require no

 9 response.

10          142.   The Court has determined that falsity has not been adequately pled with respect to

11 the termination letter referred to in Paragraph 142, thus the allegations in Paragraph 142 require no

12 response. Paragraph 142 of the FAC otherwise purports to characterize the public Twitter share

13 price which speaks for itself and to which no response is required.           Defendant denies the

14 allegations to the extent plaintiffs have mischaracterized the same.          Defendant denies the

15 remainder of the allegations in Paragraph 142.

16          143.   Paragraph 143 of the FAC refers to a public filing in the Delaware Chancery Court

17 which speaks for itself and to which no response is required. Defendant denies the allegations to

18 the extent plaintiffs have mischaracterized the same.

19          144.   The Court has determined that falsity has not been adequately pled with respect to

20 the termination letter referred to in Paragraph 144, thus the allegations in Paragraph 144 require no

21 response. Paragraph 144 of the FAC otherwise purports to characterize the contents of an August

22 29, 2022 letter from Skadden Arps which speaks for itself and to which no response is required.

23 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

24 Defendant denies the remainder of the allegations in Paragraph 144.

25          145.   The Court has determined that falsity has not been adequately pled with respect to

26 the termination letter referred to in Paragraph 144, thus the allegations in Paragraph 145 require no
27 response. Paragraph 145 of the FAC otherwise purports to characterize the contents of an August

28 29, 2022 letter from Skadden Arps which speaks for itself and to which no response is required.

                                                    18                   Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24     Page 19 of 28




 1 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

 2 Defendant denies the remainder of the allegations in Paragraph 145.

 3          146.     The Court has determined that falsity has not been adequately pled with respect to

 4 the termination letter referred to in Paragraph 144, thus the allegations in Paragraph 146 require no

 5 response. Paragraph 146 of the FAC otherwise refers to the public Twitter share price which

 6 speaks for itself and to which no response is required. Defendant denies the allegations to the

 7 extent plaintiffs have mischaracterized the same.         Defendant denies the remainder of the

 8 allegations in Paragraph 146.

 9          147.     The Court has determined that falsity has not been adequately pled with respect to

10 the termination letter referred to in Paragraph 147, thus the allegations in Paragraph 147 require no

11 response.       Paragraph 147 of the FAC otherwise purports to characterize the contents of a

12 September 9, 2022 letter from Skadden Arps which speaks for itself and to which no response is

13 required. Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

14          148.     The Court has determined that falsity has not been adequately pled with respect to

15 the termination letter referred to in Paragraph 147, thus the allegations in Paragraph 148 require no

16 response.

17          149.     The Court has determined that falsity has not been adequately pled with respect to

18 the termination letters, thus the allegations in Paragraph 149 require no response. To the extent a

19 response is required, Defendant denies the allegations in Paragraph 149.

20          150.     Defendant admits the allegations of Paragraph 150.

21          151.     Paragraph 151 of the FAC purports to characterize a SEC filing which speaks for

22 itself and to which no response is required.       Defendant denies the allegations to the extent

23 plaintiffs have mischaracterized the same.

24   VIII. MUSK’S SCIENTER AND MOTIVE AND OPPORTUNITY TO COMMIT FRAUD

25          152.     Defendant denies the allegations in Paragraph 152 of the FAC.

26          153.     Defendant denies the allegations in Paragraph 153 of the FAC.
27          154.     Paragraph 154 of the FAC purports to characterize the contents of news articles

28 which speaks for themselves and to which no response is required.             Defendant denies the

                                                    19                   Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB         Document 58      Filed 03/08/24     Page 20 of 28




 1 allegations to the extent plaintiffs have mischaracterized the same.       Defendant denies the

 2 remainder of the allegations in Paragraph 154.

 3         155.    Defendant denies the allegations in Paragraph 155 of the FAC.

 4         156.    Paragraph 156 of the FAC purports to characterize Defendant’s information

 5 demands, Twitter’s information responses, the contents of the Merger Agreement, and contents of

 6 public filing in the Delaware Chancery Court, which speak for themselves and to which no

 7 response is required.        Defendant denies the allegations to the extent plaintiffs have

 8 mischaracterized the same.

 9         157.    Paragraph 157 of the FAC purports to characterize the contents of the termination

10 letter and contents of public filings in the Delaware Chancery Court, which speak for themselves

11 and to which no response is required. Defendant denies the allegations to the extent plaintiffs

12 have mischaracterized the same. Defendant denies the remainder of the allegations in Paragraph

13 157.

14         158.    Paragraph 158 of the FAC refers to public filings in the Delaware Chancery Court

15 which speaks for itself and to which no response is required. Defendant denies the allegations to

16 the extent plaintiffs have mischaracterized the same. Defendant denies the remainder of the

17 allegations in Paragraph 158.

18         159.    Paragraph 159 of the FAC refers to public filings in the Delaware Chancery Court

19 which speaks for itself and to which no response is required. Defendant denies the allegations to

20 the extent plaintiffs have mischaracterized the same. Defendant denies the remainder of the

21 allegations in Paragraph 159.

22         160.    Defendant denies the allegations in Paragraph 160 of the FAC.

23         161.    Paragraph 161 of the FAC refers to public filing in the Delaware Chancery Court

24 which speaks for itself and to which no response is required. Defendant denies the allegations to

25 the extent plaintiffs have mischaracterized the same. Defendant denies the remainder of the

26 allegations in Paragraph 161.
27         162.    Defendant denies the allegations in Paragraph 162 of the FAC.

28         163.    Defendant denies the allegations in Paragraph 163 of the FAC.

                                                  20                   Case No. 3:22-CV-05937-CRB
                                              ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB        Document 58      Filed 03/08/24     Page 21 of 28




 1         164.   Defendant denies the allegations in Paragraph 164 of the FAC.

 2         165.   Defendant denies the allegations in Paragraph 165 of the FAC.

 3         166.   Defendant denies the allegations in Paragraph 166 of the FAC.

 4                                         The Truth Emerges

 5         167.   Defendant denies the allegations in Paragraph 167 of the FAC.

 6         168.   Paragraph 168 of the FAC cites to the public price of Twitter shares, which speak

 7 for themselves and to which no response is required. Defendant denies the allegations to the

 8 extent plaintiffs have mischaracterized the same.      Defendant denies the remainder of the

 9 allegations in Paragraph 168.

10         169.   Paragraph 169 of the FAC purports to characterize the contents of a Wall Street

11 Journal Article, the contents of which speaks for itself and to which no response is required.

12 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

13 Defendant denies the remaining allegations in Paragraph 169.

14         170.   Paragraph 170 of the FAC purports to characterize the contents of a New York

15 Times article, the contents of which speaks for itself and to which no response is required.

16 Defendant denies the allegations to the extent plaintiffs have mischaracterized the same.

17 Defendant denies the remaining allegations in Paragraph 170.

18         171.   Paragraph 171 of the FAC purports to characterize the contents of a BBC interview

19 the contents of which speak for and to which no response is required. Defendant denies the

20 allegations to the extent plaintiffs have mischaracterized the same.      Defendant denies the

21 remaining allegations in Paragraph 171.

22         172.   Defendant denies the allegations in Paragraph 172 of the FAC.

23                                   IX.     LOSS CAUSATION

24         173.   Defendant denies the allegations in Paragraph 173 of the FAC.

25         174.   Defendant denies the allegations in Paragraph 174 of the FAC.

26         175.   Defendant denies the allegations in Paragraph 175 of the FAC.
27

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                                                  21                   Case No. 3:22-CV-05937-CRB
                                              ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58      Filed 03/08/24     Page 22 of 28




 1                       X.     PLAINTIFFS’ CLASS ACTION ALLEGATIONS

 2         176.    Paragraph 176 of the FAC contains legal conclusions and arguments to which no

 3 response is required

 4         177.    Defendant denies the allegations in Paragraph 177 of the FAC.

 5         178.    Defendant denies the allegations in Paragraph 178 of the FAC.

 6         179.    Defendant denies the allegations in Paragraph 179 of the FAC.

 7         180.    Defendant denies the allegations in Paragraph 180 of the FAC and all its subparts.

 8         181.    Defendant denies the allegations in Paragraph 181 of the FAC.

 9         182.    Defendant denies the allegations in Paragraph 182 of the FAC and all its subparts.

10         183.    Defendant denies the allegations in Paragraph 183 of the FAC.

11         184.    Defendant denies the allegations in Paragraph 184 of the FAC.

12                                              COUNT I

13                     Violation of Section 10(b) of The Exchange Act and Rule 10b-5

14                                          Against Defendant Musk

15         185.    Defendant repeats and realleges each and every response contained above as if fully

16 set forth herein.

17         186.    Paragraph 186 of the FAC contains legal conclusions and arguments to which no

18 response is required.

19         187.    Defendant denies the allegations in Paragraph 187 of the FAC.

20         188.    Defendant denies the allegations in Paragraph 188 of the FAC.

21         189.    Defendant denies the allegations in Paragraph 189 of the FAC.

22         190.    Defendant denies the allegations in Paragraph 190 of the FAC.

23         191.    Defendant denies the allegations in Paragraph 191 of the FAC.

24         192.    Defendant denies the allegations in Paragraph 192 of the FAC.

25         193.    Defendant denies the allegations in Paragraph 193 of the FAC.

26         194.    Defendant denies the allegations in Paragraph 194 of the FAC.
27

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                                                   22                   Case No. 3:22-CV-05937-CRB
                                               ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58         Filed 03/08/24      Page 23 of 28




 1                                     AFFIRMATIVE DEFENSES

 2          Defendant offers the following defenses in response to the allegations set forth in the FAC.

 3 Defendant reserves the right to amend this Answer, to amend, modify and/or supplement his

 4 defenses, and to pled and assert additional defenses as they become known and appropriate during

 5 the course of the litigation, including without limitation any defenses that may arise as a result of

 6 any findings, conclusions, or other action taken. The statement of any defense does not assume

 7 the burden of proof on any issue as to which applicable law places the burden on plaintiffs. To the

 8 extent that any of the defenses asserted herein or to be asserted in the future is mutually exclusive

 9 with another defense asserted herein or to be asserted in the future, such defense is asserted in the

10 alternative to them.       Nothing stated herein is intended, or shall be construed, as an

11 acknowledgment that any particular issue or subject matter is relevant to the allegations. Any

12 affirmative defenses asserted with respect to plaintiffs likewise apply to the putative class where

13 appropriate.

14                                  FIRST AFFIRMATIVE DEFENSE

15          Plaintiffs fail to state a claim upon which relief can be granted.

16                                SECOND AFFIRMATIVE DEFENSE

17          The FAC fails to pled fraud with particularity, as required by Federal Rule of Civil

18 Procedure 9(b) and the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-(b)(1),

19 and otherwise fails properly to identify the alleged false or misleading statements of which

20 plaintiffs complain and the alleged scienter of Defendant.

21                                 THIRD AFFIRMATIVE DEFENSE

22          Defendant is not liable because he did not make a false or misleading statement of material

23 fact or omission of material fact, and complied with all applicable disclosure requirements. The

24 alleged misrepresentations and omissions on which plaintiffs base their claims were immaterial

25 puffery and/or otherwise not material.

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27

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                                                     23                   Case No. 3:22-CV-05937-CRB
                                                 ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58         Filed 03/08/24    Page 24 of 28




 1                                FOURTH AFFIRMATIVE DEFENSE

 2          Defendant is not liable because plaintiffs’ claims are barred, in whole or in part, because,

 3 assuming there was any untruth or omission as alleged in the FAC (and Defendant denies there

 4 was any), plaintiffs knew or should have known of such untruth or omissions.

 5                                 FIFTH AFFIRMATIVE DEFENSE

 6          Defendant is not liable because some or all of the matters now claimed by the FAC to be

 7 the subject of misrepresentations or omissions publicly were disclosed or were in the public

 8 domain and, as such, were available to plaintiffs and were at all times reflected in the market price

 9 of the securities.

10                                 SIXTH AFFIRMATIVE DEFENSE

11          Defendant is not liable because certain alleged misstatements about which plaintiffs

12 complain concern nonactionable matters of opinion or soft information, rather than matters of

13 material fact.

14                               SEVENTH AFFIRMATIVE DEFENSE

15          Defendant is not liable because plaintiffs’ claims are barred, in whole or in part, because

16 the purported misrepresentations and omissions alleged in the FAC did not affect the market price

17 of the securities.

18                                EIGHTH AFFIRMATIVE DEFENSE

19          Plaintiffs cannot recover against Defendant because plaintiffs are unable to establish that

20 the purported misstatements and omissions alleged in the FAC were the cause of plaintiffs’

21 decisions to purchase or sell the securities.

22                                 NINTH AFFIRMATIVE DEFENSE

23          Plaintiffs’ claims against Defendant are barred in whole or in part because of the lack of

24 loss causation and because Defendant did not cause any losses. Plaintiffs have not suffered any

25 injury or harm as a result of the actions of Defendant alleged in the FAC.

26                                 TENTH AFFIRMATIVE DEFENSE
27          The claims asserted in the FAC are contradicted by documentary evidence.

28

                                                       24                   Case No. 3:22-CV-05937-CRB
                                                   ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58        Filed 03/08/24      Page 25 of 28




 1                               ELEVENTH AFFIRMATIVE DEFENSE

 2          Some or all of plaintiffs’ claims are barred because plaintiffs cannot establish a sufficient

 3 connection between existing statements and any alleged underlying wrongdoing sufficient to

 4 create a duty to disclose.

 5                               TWELFTH AFFIRMATIVE DEFENSE

 6          Defendant is not liable because any wrongdoing alleged in the FAC lacks a sufficient

 7 connection to the purchase or sale of the securities.

 8                              THIRTEENTH AFFIRMATIVE DEFENSE

 9          Defendant is not liable for any alleged damages suffered by plaintiffs and other members

10 of the putative class to the extent that their purported damages, if any, were caused or contributed,

11 in whole or in part, by the policies, practices, acts, or omissions of independent persons or entities

12 other than Defendant over which Defendant had no control.

13                              FOURTEENTH AFFIRMATIVE DEFENSE

14          Plaintiffs’ claims are limited, in whole or in part, because superseding or intervening

15 events caused some or all of the alleged damages.

16                               FIFTEENTH AFFIRMATIVE DEFENSE

17          Plaintiffs’ claims are limited, in whole or in part, by plaintiffs’ actions, omissions, and/or

18 comparative fault and contributory negligence.

19                               SIXTEENTH AFFIRMATIVE DEFENSE

20          Plaintiffs’ claims are limited, in whole or in part, because plaintiffs’ alleged damages are

21 based on speculation.

22                              SEVENTEENTH AFFIRMATIVE DEFENSE

23          Plaintiffs’ claims are limited, in whole or in part, because plaintiffs are not entitled to the

24 “fraud on the market” presumption of reliance, and because plaintiffs did not rely on the alleged

25 misstatements or omissions in determining whether to take any actions in connection with Twitter

26 securities.
27

28

                                                     25                   Case No. 3:22-CV-05937-CRB
                                                 ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB           Document 58        Filed 03/08/24      Page 26 of 28




 1                             EIGHTEENTH AFFIRMATIVE DEFENSE

 2          Plaintiffs’ claims are limited, in whole or in part, because plaintiffs failed to make

 3 reasonable efforts to mitigate damages.

 4                             NINETEENTH AFFIRMATIVE DEFENSE

 5          Plaintiffs are not entitled to any recovery from Defendant because plaintiffs would have

 6 sold Twitter securities, even with full knowledge of the facts that plaintiffs allege were

 7 misrepresented or omitted.

 8                             TWENTIETH AFFIRMATIVE DEFENSE

 9          This action may not properly be maintained as a class action.

10                           TWENTY-FIRST AFFIRMATIVE DEFENSE

11          Plaintiffs are not entitled to attorneys’ fees, costs, expenses, or any other damages or relief.

12                          TWENTY-SECOND AFFIRMATIVE DEFENSE

13          Plaintiffs’ claims are limited, in whole or in part, because plaintiffs lack standing to

14 maintain this action under Article III or other applicable statute or common law.

15                           TWENTY-THIRD AFFIRMATIVE DEFENSE

16          Plaintiffs’ claims are limited, in whole or in part, because the alleged misrepresentations

17 and omissions on which plaintiffs base their claims were not material.

18                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

19          Plaintiffs’ claims are limited in whole or in part by the doctrines of estoppel, quasi-

20 estoppel, waiver, and/or ratification.

21                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

22          Plaintiffs’ claims are limited in whole or in part because plaintiffs have failed to establish

23 any non-speculative causal or other connection between the alleged misstatements or omissions, or

24 other acts or occurrences, and the alleged losses.

25

26          WHEREFORE, Defendant respectfully requests that the Court enter judgment for them
27 by adjudging and decreeing:

28          1.     That this action may not be maintained as a class action;

                                                     26                   Case No. 3:22-CV-05937-CRB
                                                 ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB          Document 58       Filed 03/08/24      Page 27 of 28




 1          2.      That the FAC, and each purported cause of action, is dismissed with prejudice;

 2          3.      That the Court grant Defendant all equitable or other relief against plaintiffs as a
 3
     consequence of defending this action, including attorneys’ fees and costs; and
 4
            4.      That the Court award Defendant any such other and further relief as the Court may
 5
     deem just and proper.
 6

 7

 8

 9 DATED: March 8, 2024                         QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
10

11
                                                 By /s/ Joseph C. Sarles
12                                                 Alex Spiro
13                                                 Jesse Bernstein
                                                   Michael T. Lifrak
14                                                 Joseph C. Sarles
                                                   Alex Bergjans
15
                                                    Attorneys for Elon Musk
16

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                                                    27                   Case No. 3:22-CV-05937-CRB
                                                ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
     Case 3:22-cv-05937-CRB        Document 58      Filed 03/08/24       Page 28 of 28




 1                                 CERTIFICATE OF SERVICE

 2         I hereby certify that the foregoing document was served on all counsel of record

 3 electronically or by another manner authorized under FED. R. CIV. P. 5(b) on this the 8th day of

 4 March, 2024.

 5
                                             QUINN EMANUEL URQUHART &
 6                                           SULLIVAN, LLP
 7

 8
                                               By /s/ Joseph C. Sarles
 9                                               Alex Spiro
                                                 Jesse Bernstein
10                                               Michael T. Lifrak
                                                 Joseph C. Sarles
11
                                                 Alex Bergjans
12
                                                  Attorneys for Elon Musk
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                                                 28                   Case No. 3:22-CV-05937-CRB
                                             ELON MUSK’S ANSWER TO FIRST AMENDED COMPLAINT
